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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LEHIGH VALLEY PROPERTIES,
and LAURIE ATIYEH :
PLAINTIFES, : NO. 14-4091

VS.

CITY OF ALLENTOWN,

And Mayor Edward Powlaski

Acting in his capacity as Mayor,

Pennsylvania Department of

Transportation
DEFENDANTS.

NOTICE TO WITHDRAW COMPLAINT

The Plaintiffs through their undersigned counsel hereby gives notice that the above-

captioned case is withdrawn with prejudice.

Respectfully Submitted,

The Law Offices of Everett Cook, P.C.

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